
PER CURIAM.
We issued a Spencer 1 show cause order directing Petitioner to demonstrate why he should not be barred from any future pro se filings in this Court and why he should not be prohibited from any telephonic and/or in-person communications with Court Staff. We conclude that he is abusing the judicial process and Court Staff and should be barred from further pro se filings.
Therefore, in order to conserve judicial resources and protect Court Staff, we prohibit Petitioner from filing with this Court any further pro se pleadings concerning Volusia County Seventh Judicial Circuit case numbers 2017-30371-FMCI, 2017-30481-FMCI, 2018-33323-FMCI. The Clerk of this Court is directed not to accept any further pro se filings concerning *1021these cases and not to accept any telephone or in-person communications. Any further pleadings regarding these cases will be summarily rejected by the Clerk, unless they are filed by a member in good standing with The Florida Bar. See Isley v. State, 652 So. 2d 409, 411 (Fla. 5th DCA 1995) ("Enough is enough.").
FURTHER PRO SE FILINGS PROHIBITED.
WALLIS, LAMBERT and EISNAUGLE, JJ., concur.

State v. Spencer, 751 So. 2d 47 (Fla. 1999).

